3/6/2019                               Loevy &#:
               Case: 1:17-cv-08291 Document    Loevy Mail -Filed:
                                                 111-7     Jaimes -03/06/19
                                                                   Plaintiff's RFPPage
                                                                                   Nos. 9 and
                                                                                          1 of11 1 PageID #:666



                                                                                      Danielle Hamilton <hamilton@loevy.com>



  Jaimes - Plaintiff's RFP Nos. 9 and 11
  Danielle Hamilton <hamilton@loevy.com>                                                             Tue, Nov 27, 2018 at 5:27 PM
  To: "MICHAEL GORMAN (States Attorney)" <MICHAEL.GORMAN@cookcountyil.gov>
  Cc: Mike Kanovitz <mike@loevy.com>, Katie Roche <katie@loevy.com>

    Michael,

    I write regarding two discovery requests from Plaintiff's First Set of RFPs. First, Request No. 9 asks for any insurance
    policies, contracts, or indemnification agreements that could or might provide coverage to any of the Defendants for any
    of the allegations in Plaintiffs’ Complaint. We do not believe we have received any insurance policies--please produce any
    responsive policies in effect in November 2015. If I am incorrect and these documents have been produced, please point
    me to them by identifying them by bates number.

    Second, Request No. 11 is Erika Aguirre's complete personnel/employee file. It is our understanding from documents that
    you've produced that Erika took a Cook County Sheriff's Police Department test at least once in September 2015 and
    again at some other time. It is also understanding that the test and the results would be in her personnel file, but we have
    not seen them in the file. Please produce any responsive records--or if they are in the file, please point me to them by
    identifying them by bates number.

    Thanks,
    Danielle

    --
    Danielle Hamilton
    Loevy & Loevy
    311 N. Aberdeen Street, 3rd Floor
    Chicago, Illinois 60607
    (312) 243-5900




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